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                                                                                                                 FILED ~ __,
AO 2458 (CASDRev. 08/13) Judgment in a Criminal Case

                                                                                                                 JJN 26 2015
                                         UNITED STATES DISTRICT COD
                                              SOUTHERN DISTRICT OF CALIFORNIA
                                                                                                       { (.,v
              UNITED STATES OF AMERICA                                                  IN:T:A....L-:C~~~~~--!::!~.!...J
                                                                      JUDGMENT IN A CRIM...
                                                                      (For Offenses Committed On or After Novemb
                                    V.
               JUAN CASTRO-NAVARRO (I)
                                                                         Case Number:         14CR02IS-GPC

                                                                      DEVIN J. BURSTEIN
                                                                      Defendant's Attorney
REGISTRATION NO.                    46610298

THE DEFENDANT:
 IZI   pleaded guilty to count(s)          1 of the Superseding Indictment.

       was found guilty on count(s)
    after a olea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                       Count
Title & Section                          Nature of Offense                                                            Number(s)
21 USC 841(a)(J),846                     Conspiracy to distribute methamphetamine and heroin.                            1




     The defendant is sentenced as provided in pages 2 through                   5           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

 o The defendant has been found not gUilty on count(s)
 IZI   Count(s}    Underlying Indictment and remaining count is             dismissed on the motion of the United States.

 IZI   Assessment: $100.00.




 IZI See fine page              0 Forfeiture pursuant to order filed                                             , included herein.
       IT IS ORDERED that the defendant shaH notifY the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notifY the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                      June 26. 2015
                                                                       Date of Imposition of Sentence

                                                                              f2ubCQ
                                                                       HON. GONZALO P. CURIEL
                                                                       UNITED STATES DISTRICT JUDGE



                                                                                                                     14CR0215-GPC
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DEFENDANT:                  JUAN CASTRO-NAVARRO (1)                                                Judgment - Page 2 of5
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 182 months.




        Sentence imposed pursuant to Title 8 USC Section 1326(b).
 IZI    The court makes the following recommendations to the Bureau of Prisons:
        Designation to an institution in the Western Region of the United States, Southern California area.




 o      The defendant is remanded to the custody of the United States Marshal.

 o      The defendant shall surrender to the United States Marshal for this district:
         o    at                         A.M.                 on
              ---------------­
         o as notified by the United States Marshal.
        The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 o      Prisons:
         o     on or before
         o    as notified by the United States Marshal.
         o     as notified by the Probation or Pretrial Services Office.

                                                        RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                            to _________________

 at _____________ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                      By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       14CR0215-GPC
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    AO 245B (CASD Rev. 08/13) Judgment in a Criminal Case

    DEFENDANT:                   JUAN CASTRO-NAVARRO (1)                                                                      Judgment - Page 3 of 5
    CASE NUMBER:                 14CR0215-GPC

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
5 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
          The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of future
o         substance abuse. (Check, if applicable.)
          The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
          The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
          Backlog Elimination Act of 2000, pursuant to 18 USC section 3583( a)(7) and 3583( d).
          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o         seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
          resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o         The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

           If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
      such fine or restitution that remains unpaid at the commencement of the tenn of supervised release in accordance with the Schedule of
      Payments set forth in this judgment.
          The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
      with any special conditions imposed.
                                        ST ANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission ofthe court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions ofthe probation officer:
     4)  the defendant shall support his or her dependents and meet other family responsibilities:
     5)  the defendant shall work regularly at a lawful occupation. unless excused by the probation officer for schooling. training, or other acceptable
         reasons:
     6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment:
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess. use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances. except as prcscribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed. or administered:
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony_
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     II) the defendant shall noti fy the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the dcfendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court: and
     13) as directed by the probation officer. the defendant shall notity third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
         with such notification requirement.



                                                                                                                                    14CR0215-GPC
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DEFENDANT:             JUAN CASTRO-NAVARRO (1)                                                 Judgment - Page 4 of 5
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                                SPECIAL CONDITIONS OF SUPERVISION


If deported, excluded or allowed to voluntarily return to country of origin, not reenter the United States illegally
and report to the probation officer within 24 hours of any reentry into the United States; supervision waived
upon deportation, exclusion, or voluntary departure.

II




                                                                                                   14CR0215-GPC
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AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:               JUAN CASTRO-NAVARRO (1)                                                   Judgment - Page 5 of 5
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                                                  FINE

The defendant shall pay a fine in the amount of      $500~.0_0~_ _ _ _ unto the United States of America.




This sum shall be paid    IZI   as follows:

IT IS ORDERED that the defendant pay fine in the amount of$ 500.00 through the Clerk, U.S. District Court.
Payment of fine shall be forthwith. During any period of incarceration the defendant shall pay fine through the
Inmate Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever
is greater, with the remaining balance to be made following the defendant's release. The defendant shall pay
the fine during his supervised release at the rate of $ 50.00 per month. These payment schedules do not
foreclose the United States from exercising all legal actions, remedies, and process available to it to collect the
fine judgment.

Until fine has been paid, the defendant shall notify the Clerk of the Court and the United States Attorney's
Office of any change in the defendant's mailing or residence address, no later than thirty (30) days after the
change occurs.

The Court has determined that the defendant       does not      have the ability to pay interest. It is ordered that:
    The interest requirement is waived




                                                                                                        14CR0215-GPC
